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                 IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION




UNITED STATES OF AMERICA

vs.                                                NO. 4:11CR00104-001 SWW

BRIAN WARD



                                           ORDER

       Pending    before    the    Court    is   government's       motion   to   dismiss

indictment against defendant Brian Ward.

       IT IS SO ORDERED that the government’s motion to dismiss indictment

[doc   #25]   against      the    above-named      defendant   be    GRANTED,     and   the

indictment pending against defendant Brian Ward is dismissed without

prejudice.

       DATED this 15th day of May 2012.



                                                   /s/Susan Webber Wright

                                                   UNITED STATES DISTRICT JUDGE
